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 5   Attorney for Defendant
     SARAH RENEE TODD
 6

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 8
                            IN THE UNITED STATED DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                       )   Case No.: 1:09-cr-00388 LJO
12                                                   )
                    Plaintiff,                       )   STIPULATION TO CONTINUE
13                                                   )   SENTENCING HEARING
         vs.                                         )
14   SARAH RENEE TODD,                               )   Date: February 11, 2011
                                                     )   Time: 8:45 am
15                                                   )   Honorable Lawrence J. O’Neill
                    Defendant.                       )
16
            It is hereby stipulated by and between the parties hereto, through their respective
17
     attorneys of record, as follows:
18
            The sentencing hearing in this matter is currently set for February 11, 2011 at 8:45 am.
19
            By stipulation of the parties, it is respectfully requested that the sentencing hearing be
20
     continued until March 4, 2011 at 8:45 am.
21
            The reasons for this request are as follows: Defense counsel is currently in trial in Tulare
22
     County Superior Court in the case of People v. Danny Williams, Case No. VCF222476. Due to
23
     attorney illness and a power failure at the Tulare County Courthouse, which closed the
24
     courthouse for three days, the trial is not scheduled to conclude until February 25, 2011.
25
     Counsel was hopeful that this matter could be concluded as now scheduled, but, neither defense
26
     counsel nor government counsel has received the revised presentence report which is necessary
27
     for the conclusion of negotiations concerning sentencing issues and final preparation of
28
                Case 1:09-cr-00388-DAD Document 60 Filed 02/09/11 Page 2 of 2



 1   defendant’s sentencing memorandum to be submitted to the court. The date of March 4, 2011
 2   has been selected since defense counsel’s trial will be concluded, the revised presentence report
 3   will be available, and no further continuances should therefore be necessary.
 4          It is therefore respectfully requested that this matter be continued until March 4, 2011, at
 5   8:45 am.
 6   Dated: February 8, 2011                              Respectfully submitted,
 7

 8                                                        /s/ Carl M. Faller_______
                                                          CARL M. FALLER
 9
                                                          Attorney for Defendant
10                                                        SARAH RENEE TODD

11                                                        BENJAMIN B. WAGNER
                                                          United States Attorney
12

13
                                                   By     /s/ Mark J. McKeon____
14                                                        MARK J. McKEON
                                                          Assistant U.S. Attorney
15                                                        Attorney for the United States

16
            ORDER:
17

18          Based upon the stipulation of the parties and good cause appearing, it is hereby

19   ORDERED that the sentencing hearing currently set for February 11, 2011 at
20   8:45 am, be continued to March 4, 2011 at 8:45 am.
21
     DATED: February 9, 2011
22
                                                          _/s/ Lawrence J. O’Neill___________
23                                                        LAWRENCE J. O’NEILL
                                                          United States District Judge
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